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  U NITED STA TES DISTR IC T C O U R T                                                k


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                                                 X                           S C;oil
                                                                                   JlA - MI AMI

  ALLEN B.G O TTLIEB,
  PH YLLIS J.G OTTIHEB,
   PH Y LL IS J.G O TTLIEB A S G U A R D IA N
   FO R JESSE H .G O T TLIEB ,and
   R AC H EL E .G O TTL IEB ,
                             PLA IN TIFFS.              C O M PLA IN T

   A gainst

   N A N C Y E LL EN T Y LE R ,and                     PLA IN TIFFS D E M A N D

   JO H N G R A U BA R D ,                             T R IA L BY JU RY
                             D EFEN D A N TS       X

                                      C O M PLA IN T
         Plaintiffs ALLEN B.GOU LIEB,PHYLLIS J.GOU LIEB,PHYLLIS J.GOU LIEB AS GUARDIAN

         FO R JESSE H.GOU LIEB,and RACHEL E.GOU LIEB,fortheircom plaintallege as follows

         and demand atrialbyjury:

                                       JURISDIG IO N

      2. ThisCivilaction is broughtpursuantto BivensV.Six Unknow n Nam ed Agentsofthe

         FederalBureauofNarcotics,403U.S.388(1971).ThisCourthasjurisdidionoverthis

         action pursuantto under28 U.S.C.Sec.1331 and 2201.


                                           VENUE



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          Venue is properin thisdistrictbecause a substantialpartofthe eventsorom issions

          giving riseto these claim soccurred orasubstantialpartofpropertythatisthe subject

          ofthe action is orw as situated,in it.


                                               PARTIES


   PLAINTIFFS:


   4.Allen Bruce Gottlieb,''AlIen?', isa citizen ofthe United States and a residentofthe State of

   Florida residing at2617 Lincoln Avenue,M iam i,Florida 33133.

   5. PhyllisJean Gottlieb,''Phyllis'', isa citizen ofthe United States and a residentofthe State of

   Florida residing at2617 Lincoln Avenue,M iam i,Florida 33133.


   6.Jesse Harry Gottlieb, is a citizen ofthe United Statesand a residentofthe State ofFlorida

   residing at2617 Lincoln Avenue,M iam i,Florida 33133.Jesse is the son ofAllen and Phyllis and

   is profoundly disabled by Dow nsSyndrom e. Phyllis ishis M iam i-Dade County Courtappointed

   Guardian.

   7. RachelElizabethGottlieb,isa citizen ofthe United Statesand a residentofthe State of

   Florida residing at2617 Lincoln Avenue,M iam i,Florida 33133. She is the daughterofAllen and

   Phyllis.


   DEFENDANTS:




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  8.Nancy Ellen Tyler,isAssistantChiefLitigation Counselin the Division ofEnforcem entofthe

  United StatesSecurities and Exchange Com m ission,w ith an addressof 100 FStreet,NE,Room

  5608;M ailStop 5631,W ashington,DC 20549-0022.


  9.John J.Graubard,w as,during the relevanttim e periods in this com plaint,SeniorTrialCounsel

  forthe Securitiesand Exchange Com m ission in its New York RegionalOffice,at200 Vesey

  Street,Room 400,New York,NY 10281-1022.


                                           IURY DEM AND


   10.Plaintiffsdemand atrialbyjury inthisaction oneachoftheirclaimstriable byjury.

                                           PR EA M BLE

   11.lndividualsw hose constitutionaland otherfederalrightshave been violated by federaland

   state governm entofticers m ay bring federallaw suitsagainstthose ofticers.


   12. D efendantstook the actionsdescribed below in theirroles as governm entofficialsacting

   undercolorofa StateofFederalstatute,ordinance,regulation,custom ,orusage,and thereby

   subjected Plaintiffstothedeprivationoftheirrights,privileges,andimmunitiessecuredbythe
   C onstitution and law softhe United Statesand by the State ofFlorida and N ew Y ork.


   13.Defendantsabused theirauthority and conductedthem selveswith recklessand ruthless

   abandonoftheirdutiesandresponsibilities,andforthree(3)yearsdeprivedPlaintiffs'
   individualsforoftheirrightsand protectionsguaranteed by the constitution and Florida Statutes

   and thewell-established case Law and operated with com pleteand unrestrained im ptmity.

                                     4. STATE M ENT O F FA C TS


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       1. During thetim eperiod allegedin thiscom plaint,thetûGottlieb Family'',consisting of

          ûtphyllis''Gottlieb,68,wife and mother,ttAllen''Gottlieb 76,husband and father,

          ûilesse''Gottlieb,25,son born with Profound DownsSyndrome,who iscared forand
          WhO living atthe Gottlieb fam ily'shomestead residence located at3234 NE 211th

          Court, Aventura,Florida,33180 and who wasattending the FloridaARC Schoolfor

          D isabled Children and ûtRachel''G ottlieb,daughter23,w ho w as a fulltim e studentat

          Florida InternationalU niversity.

          A 1lPlaintiff's lived in theirAventura H om estead since itwaspurchased by Phyllis in

          2009 and continued to live there untilthey were ordered to vacatethe property in 72
          hoursby Courtorder issued on 07/16/15 by Judge Bagley, CircuitCourtOf 11th5udjcjaj

          Circuitin and forM iam i-Dade County,Florida,Case.$2014-14726 CA OI,

          Them embersoftheGottlieb fam ily had been residentsofFloridafbrovertwo decades

          atthe tim e the events described herein occurred.

          DefendantsNancy Tylerand John Graubard areand/orwerehighly placed agentsand

          em ployeesofthe U nited States Securities and Exchange Com m ission,ttSEC''

          hereinaftertûA gents''




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          on 07/16/15 Judge Bagley, CircuitCourtof11tbJudicialCircuitin and tbrM iam i-
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          D ade County,Florida.//2014-14726 CA OI ordered Phyllisto vacate the property in 72

          hours.




       16. Phyllisw asforced by courtorderto m ove outand to sellherA ventura Florida

          Hom estead Residencetotheback up buyer,theCohensfor$817,000.

       17.Phyllissigned a RealestateAgreem entPRIOR to thesaleto buy an Ocala,Florida

          Hom estead Residence C onditioned on the seam less use ofthose A ventura H om estead

          proceedsto buy the Ocala H om estead Residence.

       18.TheAgentsthen filed abaselessrestraining noticepursuantto collectionprovisions

          providedforinNew YorkState'sCivilPracticeLawsand Rules(ûtCPLR''),which
          restrained the proceedsofthe sale to the Cohens.

       19.TheAgentsacted willfully and knowingly in filing such restraining notice and then in

          tiling an equally m eritless and fallacious CPLR 5227 TurnoverA pplication in the


                                                6
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          United StatesDistrictCourtforthe SouthernDistrictofNew York,falsely claim ing

          thatPhylliswasthetûAlterEgo''ofherhusbandAllen,whowasajudgmentdebtor
          since2003,which Phylliscreated aroutinetrustinstrumentin 2012 on theadvice ofher

          estate-planning lawyer.The trustheld titleto theAventuraproperty tmtilitwas

          transfen-ed into Phyllis'ssolenam eshortlybeforethesaleto facilitatethatsale.

       20.The fallaciousclaim ofûW lterEgo''wmscontraryto al1thepublicly filed ownership and

          tx'
            zx recordsthe A gents had in theirpossession.

       2 1.The Restraining N otice and TurnoverA pplication w ere both m aliciousinstrum ents

          designed to restrain Phyllis'righttothe saleproceedsand to deceivethe Southern

          DistrictCourtinto g'
                             ranting their Application to take possession ofthe restrained funds.

       22.PlaintiffsareallFloridaresidentsand wereFloridaresidentsduring theperiodsalleged

          in thiscom plaint. A s such,allwere entitled to the broad protections provided forin

          Florida's expansive,constitutionaland otherlegalHom estead doctrines.

       23.Plaintiffsresidedcontinuouslyin theAventurahouseforseveralyearsastheirprimary

          residence.W hen Phyllissold theproperty,she intended to apply theproceedsofthe

          sale to purchasea replacem entHom esteadproperty in Ocala Florida. Shehad a

          contractto purchase such property butwasunableto purchase itorany otherproperty

           solely asaresultoftheAgents'unlawfulrestraintoftheproceedsofthe Aventtzra

          property.

       24.The Hom estead law protectsthe ownerofa Florida Residentfrom creditors. Therefore,

          w hetherPhyllisw as the sole om zerofthe Hom estead Residence orw as the çW lter Ego''

          ofAllen,astheAgentsfalselyalleged inrestraining and then trying to recoverthe
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          proceedsofthesaleoftheAventura house,atthevery leastPhyllisand Allen owned

          the H om estead Residence as Tenants by the Entirely. A s such the proceedsofthe sale

          couldnotbeusedtosatisfythejudgmentofonlyonesuchtenant.

       25.Even ifAllen were the sole ownerthe Hom estead Residenceitwouldnotm atteras

          underallthesecircum stancestheProceedsfrom thesale ofthe Homestead Residence

          would befully protected by theHom estead exemption. TheAgentsknew,orshould

          have known,this before they took the reckless and baselessactofrestraining the

          proceedsofthe saleand beforethey filed theirbaselessturnoveraction.Even ifthey

          did notrecognizethesethingsatthetimethetiled eitherofthose noticesor

          applications,they were involved in extensive discussions w ith counselforthe Gottliebs

          afterthat,and were provided docum ents dem onstrating thatthe 2012 trustwas created

          forlegitimatereasonstandalsothatitdidnotcreateanypropertyinterestinAllen)yet
          the A gentsrefused to drop theirturnoveraction orto agree to the release ofthe

          restrained funds.

       26.UndertheapplicableHomestead law in Florida,aJudgmentisan ttunsectlred lien''

          which isanullity with respectto the proceedsofasale ofaHom estead residence.

          Accordingly,Phylliswasand isstillfully entitled to the fundsand theAgentsviolated

          herrightsby filing thebaselessrestraining noticeand turnoveraction.

       27.A dditionally,since the Tum overA pplication w as devoid ofany pleading claim ing any

          exceptionstotheHomestead protections,therewasnoteven aproffered basisby the

          A gentsto proceed againstthe protected H om estead proceeds.




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       28.Thereisnotascintillaofevidenceto supporttheAgents'claim stotheproceedsofthe

          A ventura house sale.

       29.ThefallaciousTum overApplication resulting in thewrongfulSeizureof$817,000
          from the saleofPhyllisAventtzraHomestead wasand stillisdevastating the Gottlieb

          Fmnily with aprofoundly disabled childby forcing them into hom elessnessnow for

          three(3)yearsandcountingwhentheyintendedtomoveintotheirnew Homestead
          residencethree(3)yearsago.

       30..Duringthesedevastatingthree(3)yearstheGottliebfnmilyremainedhomeless
          w ithoutfunds to purchase anotherFlorida Hom estead Residence these Agents have not

          provided anything into the courtrecords,nota scintilla ofexculpatory evidence exists

          to supporttheirbaselessclaim softtA lter Ego''.

       31.N eitherhave the A gents soughtto w ithdraw their TurnoverApplication orto rem edy

          theirm aliciousacts.

       32.Theaboveviolationsand deprivationsofrights,privilegesand protectionsgranted to

          the G ottlieb Fnm ily by the Constitution underAm endm ents 4,5,and 8,have allbeen

          w illfully violated by A gents ofthe Securitiesand Exchange Com m ission,w hile

          operating tm dercolor of1aw asevidenced by the A gentsw illfully filing theirfallacious

          TurnoverApplication to seize$817,000 protected Hom estead proceedsfrom the saleof
          Phyllis'sFlorida H om estead Residence by falsely claim ing Phyllis wasthe çiA lterEgo''

          ofA llen,butfailing to provide a scintilla ofevidence to substantiate theirfallacious

          claim sto the sale proceeds. The Judgm entthey hold isagainstA llen,N OT against




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           Phyllis.Even ifthetmsecured lien wasagainstAllen,nevertheless,itwould benulland

           void with respectto theseprotected Hom estead funds.

        33.TheseAgentscould havefiled theirclaim satany time during theyearsPhyllisowned

           theAventtzraHomestead,butm aliciously waited underthe salewascompleted and then

           filed theiractionswillfully forcingtheGottlieb Family into Hom elessnesswith a

           profoundlydisablechildnow forthree(3)years.A11thesewillfulactswerepem etrated
           despite the factthatthese A gentshad al1the publicly filed tax records and ow nership

           docum entsin theirpossession proving thatPhylliswasthesoleowneroftheAventura

           Homestead Residence butwithouta scintillaofevidenceto contradicttheexculpatory

           publicly filed ownership and tax records.

        34.    SU M M A W Z IN G PIV O TA L EV EN TS LEA DIN G TO C LA IM S FO R

           RELIEF

         A . These A gents,w hile operating undercoloroflaw ,willfully deceiving the courtby

              filing atotally fallaciousrestrainingnoticeandthen an equally fallaciousTtm zover

              Application w ithouta scintilla ofsupporting evidence and contrary to the abundant

              docum entaryevidencein thepublicrecords,asamplified by additionalevidence

              counselforthe Gotlliebsfurnished in theTurnoverProceedinghasprovided the

              A gents,which prove Phyllisw as the sole and rightfulow nerofthe Aventura

              Homestead Residence.

              Yetwith a11thisevidencein theirpossession theseAgentschoseto fabricateafalse

              narrativeto try to deceivethecourtand submitted theirsworn TurnoverApplication




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            deceitfully claim ing PhyllisistheltAlterEgo''ofAllen withouta scintilla of

            evidence.

            TheseAgentsmaliciouslyproceededknowingthey liedtothecourtjusttotrytouse
            ftmdsowned solelybyPhyllistosatisfytheirjudgmentagainstherhusband,Allen.

         D . These A gentsw illfully targeted A llen's wife and Fam ily w ith a profoundly disabled

            child,deliberately inflicting grievousand irreparablehann on al1them emberofthe

            Gottlieb fnm ily.

            The A gentsm aliciously filed a totally fallaciousTurnoverApplication thatdirectly

            resulted in the lm lawfulSeizlzreofPhyllis$817,000 Protected Homestead Residence
            Proceeds from the sale ofherAventttra Hom estead Residence w ithouta scintilla of

            evidenceto substantiatetheirwild claims.

         F. Thisw rongfulSeizure ofPhyllisH om estead Proceeds forced the G otllieb Fam ily

            w ith a profoundly disabled child into devastating H om elessness w ithoutfundsto

            purchase anew Homestead.

            Thesem averick Agentscontinued theirdevastating charadekeepingtheGottlieb

            Familyhomelessnow forThree(3)yearsandcountingyethaveaddednonew
            evidence into the record to substantiate theirfallacious claim sand nothing to

            contradictthePublicly filed title and tax recordsprovingthatPhyllisisthesoleowner

            ofthe Florida H om estead resulting in the G ottlieb Fam ily rem aining hom eless now

            foxoverthree(3)years.




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          H . These A gentshave w illfully continued to perpetrate theirvindictive schem e in the

             face ofcompelling evidencein thepublicrecord and asprovided by cotm selforthe

             Gottliebs in the Turnoverproceeding.

             These A gentsunlaw fulactions have violated the G ottlieb Fam ily m em bers'due

             processrightsand otherrightsasguaranteed bytheUnited StatesConstimtionalas

             w ellasdenying Phyllisherrights and protections underthe Florida H om estead

             Statuesand w ellestablished case law culm inating in grossdeprivations as follow s:.

                     TheFourth(4th)Amendmentagainsttmreasonablesearchandseizure,            .




                     TheFifth(5tb)Amendmentbydeprivingthem oflife,libertyorproperty
                     w ithoutdue process oflaw .

                     TheEighth(8th)Amendmentwhich prohibitsthefederalgovernmentfrom
                     im posing excessive bail,excessive fines,orcrueland unusualpunishm ent,

                     and

             iv)     TheEight(8th)AmendmentagainstviolationsofFloridaStateLawsin
                     particularthe H om estead:statutory and the wellestablish case law .

                                                 CO U N T O N E

                           VIO LA TIO N S O F TH E FO U RTH A M END M ENT

        35.The forgoing facts and allegationsare allre-alleged and incorporated herein by

           xeference as iffully setforth here again.




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        36.D efendants,D efendantsN ancy Ellen Tylerand John G raubard w ere and/orare still

           FederalA gents em ployed by the Securitiesand Exchange Com m ission and ata1ltim es

           referredto in thiscomplaintwereand/orare acting undercoloroflaw.

        37.TheiractionsviolatedtheFourth Amendm entto the United StatesConstitution

           because,interalia,(a)therewasnoprobablecausetobelievethattheproceedsofthe
           sale oftheAventuraproperty could lawfully be seized.

        38.Defendants'tmlawfuland willf'ulconductdeprived Plaintiffsoftheirrights,privileges,

           and im m lm ities secured by the Constitution and law softhe U nited Statesby,inter alia,

           Violating their4tbAm endm entrightsand protectionsagainstunreasonable searches and

           seizuresw hen they deceitfully and w illfully seized theirproperty m aliciously serving a

           fallaciousrestraining notice and filing a fallacious TurnoverA pplication,in bad faith,

           w ithouta scintilla ofsupporting evidence and contrary to allthe evidence in their

           possession.

        79.D espite thatknow ledge,D efendantsfiled theirbaselessrestraining notice and their

           frivolousTurnoverapplication.




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        q1 These violationsofthe 4thA m endm entrightsofan innocentfam ily w ith a profoundly
          .




              disabledchild,continuingoverathree(3)yearperiod,hascausedirreparablehannand
              m onetarydamagesin an am otmtto bedetermined attrial.


                                             CO U N T TW O
                           V IO LA TIO N O F TH E FIFTH A M EN D M EN T


       42.The forgoing facts and allegationsare a11re-alleged and incorporated herein by

              referenceasiffully setforth hereagain.

       43.D efendantsN ancy Ellen Tylerand John Graubard,acting tm dercolor ofstate law ,

              deprived Plaintiffsoftheirrights,privileges,and im m unities secured by the

              Constitution orlaws ofthe U nited States by,interalia,by depriving them ofdue

              processandbythetmlawfultakingtheirprivatepropertyforpublicuse,withoutjust
              com pensation and depriving them oflife,liberty and property.

        44.Despitehaving in theirpossession exculpatory evidencethatPhyllisisthesole owner

              ofthe A ventttra Hom estead Residence the Defendants filed theirbaselessrestraining

              notice and theirfdvolous Turnoverapplication.




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        46.By theirwillfulacts,theseculpritAgentsfabricated one1ieafteranotherand presenting

           them to thecourtwho accepted those lieswithoutascintillaofevidenceto supporttheir

           restraining noticeand/orTurnoverApplication resultinginthewrongfulSeizure

           $817,000 in protected homestead proceedsdepriving Plaintiffs,withoutdueprocessor

           justcompensationoftheir5thA m endm entrightsto life, libertyandproperty.
        47. These violations ofthe 5thAm endm entrights ofan innocentfam ily w ith a profotm dly

           disabledchild,continuingoverathree(3)yearperiod,hascausedirreparableharm and
           m onetary dam agesin an am ountto be determ ined attrial.

                                         CO UN T TH REE
                       W O LA TIO N S O F TH E EIG H TH A M EN DM EN T
        48.The forgoing facts and allegations are al1re-alleged and incom orated herein by

           reference as iffully setforth here again.

        49. D efendants,N ancy Tylerand Jolm G raubard,acting tm dercolorofstate law ,are

           and/orw ere FederalA gents em ployed by the Securitiesand Exchange Com m ission and

           atal1tim es referred to in this com plaintwere acting undercoloroflaw .

        50.Theirconductdeprived Plaintiffsoftheirrights,privileges,and im m unities secured by

           the Constitution orlawsofthe United Statesby violationsguaranteed to them underthe

           8thAmendm entto the Constitutionalbytheim position ofexcessiveEnes, excessive

           bailand crueland tm usualpunishm ent.

        51.The violations ofthe EightA m endm entcreated an unacceptable risk ofhealth and

           m enG l-health problem sforthe aging A llen and Phyllisand theirprofoundly disabled




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           son,Jesse,aswellasRachel,by depriving them accessto theirm edicaland othertypes

           ofcaregivers.

       52.Despite thatknowledge,Defendantstiled theirbaselessrestrainingnoticeand their

           frivolous Turnoverapplication.




        54.Govenzm entA gents are held to a high standard notto do violence to ourConstitution

           and to violatethe8th Amendm entrightsofPlaintiffs.

        55 These violationsofthe 8tbA m endm entrightsofan innocentfam ily w ith a profoundly

           disabledchild,continuingoverathree(3)yearperiod,hascausedirreparableharm and
           m onetary dam ages in an am ountto be determ ined attrial.

                                             C O U NT FO UR
                VIOLATIONS OF FLORIDA H OM ESTEAD STATUTES/CASE LAW
                        ALSO PROTECTED UNDER THE 8TH AM ENDM ENT


        56.Theforgoing factsand allegationsareallre-alleged and incorporated herein by

           referenceasiffully setforth here again.




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        57.Defendants,Nancy Ellen Tylerand John Graubard,areand/orwere FederalAgents

            em ployed by the Securities and Exchange Com m ission and ata1ltim esreferred to in

            thiscom plaintw ere acting undercoloroflaw .


        5hl.A gentsdeprived Plaintiffsoftheirrights,privileges,and im m unities secured by the

            Constitution orlawsoftheUnited Statesand/ortheStateofFlorida,including butnot




        FC).D efendants knew or should have knou thatthe l'l('ritlttllt)T)leïktc-tttll.
                                                                                      'xk.ll)@èti('
                                                                                                  ï1)l
                                                                                                     al-
                                                                                                       tèlt.
                                                                                                           -t.
                                                                                                             '1
                                                                                                              .q




        (41) Despite thatknow ledge,D efendants filed theirbaselessrestraining notice and their

            frivolousTurnoverapplication.




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       ($7 TheseviolationsoftheFlorida Hom estead Lawsareprotected by the 8thAmendm ent
        ..- -




                rightsand protectionsagainstexcessive fines,excessivebailand crueland unusual

                punishm entbydevastating an innocentfam ily with aprofoundly disabled child,

                continuingoverathree(3)yearperiod,hascausedirreparableharm andmonetary
                damagesin alzamountto bedeterm ined attrial.


                                                   CO UN T FIV E
                   EOUITABLE RELIEF IJNDER THE DOCTRINE OF UNCLEAN HANDS


         p. The forgoing facts and allegationsare a1lre-alleged and incorporated herein by
       ().
         -

                referenceasiffully setforth hereagain.


       64.D efendants,N ancy Ellen Tylerand John Graubard,agents and em ployees ofthe SEC

                dlzring the tim e herein com plained about,filed a fallaciousTurnoverA pplication

                contraryto a11thepublicly filed titleand tax recordsand documentsin theirpossession

                which prove thatPhyllis isthe sole ownerofthe A ventura Property asw ellasal1

                Hom estead propertiessince 1994.

        65.Also to benoted isthatfactthatpriorto 1994 Phyllisand Allen held allFam ily

                residence'sasTenantsby theEntirety.YettheserogueAgentswillfully choseto ignore

                allthe evidenceand filed theirgroundlessrestraining noticeand sanctionable Turnover

                action w ithouta scintilla ofevidence to substantiate theirallegationsofA lterEgo,

                willfully devastating Allen,hiswifePhyllisandtheirfam ily includingtheirprofotmdly

                disabled child.




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       66.TheseAgentsknew orshould have known the1aw butneverthelesschoseto cause

           Plaintifsharm and dam age by serving theirfallaciousrestraining notice and filing their

           equally fallaciousTurnoverApplication,unlaw fully depriving Plaintiffsoftheirrights

           and privileges.

       67.They proceeded w ith unlaw fulintentto dam age Plaintiffs and to cause them a11harm

           w ith recklessdisregard forthe law devastating A llen'sirm ocentfnm ily,including his

           profoundlydisabled childbyforcingthem intohomelessnessforthree(3)yearsand
           counting..By these m alicious,deceitfuland unforgivable w illfulactsthese Federal

           A gents abused theirSEC credentials and intentionally and tm law fully devastated the

           Gottlieb fam ily.

        68.These A gentsknow ingly and w illfully abused theirauthority asofficers ofthe court

           w hen they served their groundlessrestraining notice and then m isled the court

           com pounding theirU nclean H andsand D irty Tricks,theirH allm ark calling card,by

           filing an equally grotm dlessTurnoveraction,allresulting collectively in draconian

           problemsforeachoftheGottliebFnmilymembersincluding,butnotlimitedtojust
           actualmonetary dnmagesand orforconfusion,depression,insecurity,fear,emotional

           distressand anguish.

       69.Because these A gentsacted w ith Unclean Hands,the A gentsare liable fordevastating

           an innocentfnmilywith aprofotmdlydisabledchild,continuingoverathree(3)year
           period,has caused irreparable harm and m onetary dam agesin an am ountto be

           determ ined attrial.




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                                               CO U N T SlX
                     DECLARATORY JUDGM ENTJINJUNCTIVE RELIEF W ITH

                 RETURN O F THE $817.000 UNLAW FULY SEIZED H OM ESTEAD
                                 PROTECTED PRO CEEDS
        7ï).Theforgoing factsand allegationsare allre-alleged and incorporated herein by

            referenceasiffully setfol'th here again.


        71. Phyllisisentitled to a declaration thatsheisentitled to alloftherestrained funds,

            $817,000 wrongly seized and protected Hom esteadproceeds,which arecurrently being
           held in the Registry ofthe U nited StatesD istrictCourtforthe Southelm D istrictofN ew

           Y ork,and an orderdirecting the Clerk to release such fundsto Phyllis.

        72.Grantinganinjmwtionwouldservethepublicinterestandwouldbeinaccordmwewith
           Florida Constitutionaland other 1aw and authority,w hich isdedicated to the prevention

           ofhom elessness and preventing any f'
                                               urtherdevastation to Phyllisand to the Gottlieb

           fam ily w ith a disabled child.


                                              DA M A G E S

        73.Plaintiffsare entitled to consequentialand com pensatory dam ages, reasonable attorneys

           fees,aggravated dnmages,plm itivedam agesand specialdamagesasfollows:


          A.PhyllisJ.Gottlieb,forinjuriessufferedandsustainedoverThree(3)yearsand
              continuing,inthenmountofFifteenM illionUSD,($15,000,000),

          B. AllenB.Gottlieb,forinjuriessufferedandsustainedoverThree(s)yearsand
              continuing,in the nm ountofFifteen M illion U SD , ($15,000,000),



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              C.RachelE.Gottlieb,forinjuriessufferedandsustainedoverThree(3)yearsand
                  continuing,intheamountofFifteenM illionDollars,($15,000,000),

              D.JesseH.Gottlieb,forinjuriessufferedandsustainedoverThreeyearsand
                  continuing,intheamountofThirtyM illionUSD,($30,000,000).

              E. A declarationandinjunctiondirectingthereturnofthe$817,000wrongfully
                  restrained Hom estead Proceedsto PhyllisJ.Gottlieb.

              F. Othercom pensatory dam agesin an am ountto be proven attrial.


              G . Punitive dam ages in an am otm tto be proven attrial.

              H . Costs and reasonable attorney'sfees,and


                  SuchfurtherandotherreliefastheCourtmaydeem justandproper.

      D ated: M iam i,Florida
              June 18,2018




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   Jesse H .G ttlieb,by PhyllisJ.G ottlieb asCourtAppointed G uardian forJesse H .Gottlieb

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